|                                                                                  |
|                                                                                  |
|Court of Appeals                                                                  |
|Second District of Texas                                                          |
|CHIEF JUSTICE         |                                     |CLERK                 |
|TERRIE LIVINGSTON     |TIM CURRY CRIMINAL JUSTICE CENTER    |                      |
|                      |401 W. BELKNAP, SUITE 9000           |DEBRA SPISAK          |
|JUSTICES              |FORT WORTH, TEXAS 76196              |                      |
|LEE ANN DAUPHINOT     |                                     |CHIEF STAFF ATTORNEY  |
|ANNE GARDNER          |TEL: (817) 884-1900                  |LISA M. WEST          |
|SUE WALKER            |                                     |                      |
|BILL MEIER            |FAX: (817) 884-1932                  |GENERAL COUNSEL       |
|LEE GABRIEL           |                                     |CLARISSA HODGES       |
|BONNIE SUDDERTH       |www.2ndcoa.courts.state.tx.us        |                      |

                                    Date:       November      10,       2015




TO:  Randall Eugene Brooks
        #580284
        Polunsky Unit
        3872 FM 350 South
        Livingston, TX 77351


RE:  Case No  02-14-00149-CR  Style: Randall Eugene Brooks vs. State

      We are in receipt of your correspondence in connection with the  above
case.

            Our records do not indicate an appeal  pending  in  this  court.
      Contact the attorney or the trial  court  for  information  about  the
      case, or provide this court with an appeal number.

            Our records indicate you are pro se/have counsel.  The  attorney
      is/was
                                                      .

                                                         Appellant's/State's
      was/is due on
                                                      .

      The status of the above referenced case is:
         Still pending.  No opinion has issued as of this date.
         Opinion has issued.
  (   The case is closed.  Mandate issued July 31, 2015
         Pending on motion for rehearing.
         Pending at the Court of Criminal Appeals on a Petition for
     Discretionary Review.





  (   Neither the judges nor the staff of this court can give legal  advice.
       You may wish to contact Inmate Legal Services,  Texas  Department  of
      Criminal Justice, Institutional Division, P.O. Box 99, Huntsville,  TX
      77340.

            This court has no jurisdiction to  compel  the  trial  court  to
      provide you with free copies.  This court does not provide  copies  of
      any documents without prepayment of costs.  Our charge is 10 cents per
      page up to 50 pages and 50  cents  per  page  thereafter,  payable  in
      advance by cashier's check or money order.  If you  desire  copies  of
      any part of your record, send a cashier's check or money order in  the
      amount of $75.00.  There is a $38.66 fee  for  retrieving  any  closed
      case from our private storage facilities.  As much of your record will
      be copied as the remaining will cover.  You will be advised as to  the
      cost for copying  the  remainder  of  the  record.   Payment  for  the
      remainder of the record must be paid within thirty (30) days from  the
      date you are notified.  If your request does not add up to the $75.00,
      the balance will be returned to you.  Make cashier’s  check  or  money
      order payable to Clerk, Court of Appeals.

  (   The Court of Criminal Appeals, Austin, Texas,  has  jurisdiction  over
      article 11.07 post conviction  writs  of  habeas  corpus/out  of  time
      appeals.  Tex. Code Crim. Proc. Ann. art.  11.07  (West  Supp.  2011).
      This writ can only be filed with the district clerk’s  office  of  the
      county in which you were convicted.  Id.

            The papers you requested are enclosed.

            The papers you tendered are being returned to you.


                                  Respectfully yours,


                                  DEBRA SPISAK, CLERK
                                  Karen Brown
                                  By: Karen Brown, Deputy Clerk

